
Appeal No. 10884 from Judgment dated May 25, 1989; Ernest L. Brown, Ruling Judge, Lowndes County Circuit Court.
William L. Bambach, William L. Bam-bach, P.A., Columbus, for appellant.
Mike C. Moore, Atty. Gen., Wayne M. Snuggs, Asst. Atty. Gen., Jackson, for ap-pellee.
Before HAWKINS, P.J., and PITTMAN and BANKS, JJ.
Affirmed.
ROY NOBLE LEE, C.J., DAN M. LEE, P.J., and PRATHER, ROBERTSON, SULLIVAN and McRAE, JJ., concur.
